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                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


DEEP SOUTH TODAY, d/b/a VERITE
NEWS, et al.,

                       Plaintiffs,
                                                   CASE NO. 3:24-cv-00623
       v.

LIZ MURRILL, et al.,

                       Defendants.


                        PLAINTIFFS’ NOTICE OF CROSS-APPEAL

       Pursuant to Federal Rule of Appellate Procedure 3(a), Plaintiffs Deep South Today, d/b/a

Verite News, Gannett Co., Inc., Gray Local Media, Inc., Nexstar Media, Inc., Scripps Media

Inc., and TEGNA Inc. hereby appeal to the United States Court of Appeals for the Fifth Circuit

from the portion of this Court’s January 31, 2025 Order (ECF No. 43) that granted Defendants’

Motion to Dismiss as to Plaintiff’s Facial First Amendment Challenge, see ECF No. 43 at 43–46.

Dated: March 17, 2025                       Respectfully submitted,

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